

Lombardo v Agola (2017 NY Slip Op 08975)





Lombardo v Agola


2017 NY Slip Op 08975


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CARNI, J.P., LINDLEY, DEJOSEPH, TROUTMAN, AND WINSLOW, JJ.


1267 CA 17-00722

[*1]JAMES P. LOMBARDO, JR., PLAINTIFF-RESPONDENT,
vCHRISTINA A. AGOLA, DEFENDANT-APPELLANT. 






CHRISTINA A. AGOLA, DEFENDANT-APPELLANT PRO SE. 
VIOLA, CUMMINGS &amp; LINDSAY, LLP, NIAGARA FALLS (MATTHEW T. MOSHER OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (John L. Michalski, A.J.), entered September 13, 2016. The judgment, among other things, adjudged that defendant had breached the terms of her lease agreement with plaintiff and awarded plaintiff damages. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs.
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








